     Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 1 of 15




                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF KANSAS

SOUTHWESTERN BELL TELEPHONE
COMPANY,
              Plaintiff,
     vs.                                  Case No. 01-4158-RDR

STATE CORPORATION COMMISSION
OF THE STATE OF KANSAS, et al.,

                  Defendants.


                          MEMORANDUM AND ORDER

      This is an action to review a series of Kansas Corporation

Commission     (KCC)    orders    which    concern    the    question      of

compensation due from plaintiff, an incumbent local exchange

carrier (ILEC), to competitive local exchange carriers (CLECs),

or vice versa, for calls placed to internet service providers

(ISPs).    Contracts, called interconnection agreements, between

these carriers generally provide for reciprocal compensation for

calls initiated by the customer of one carrier and terminated on

the other carrier’s facilities.            However, calls to ISPs are

generally one-way traffic because the ISPs seldom call the

internet user.     There is little compensation due for calls going

the other way.       Various orders in different forums have been

issued to address this situation.

      The FCC in a ruling filed February 26, 1999 left the issue

of   reciprocal    compensation    for    ISP-bound   traffic   for   state
      Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 2 of 15




regulatory commissions to decide.                   This was an issue in an

arbitration dispute presented in a petition filed with the KCC

in December 1999 by a company named TCG Kansas City, Inc.                              The

arbitration involved TCG and plaintiff.                  While that arbitration

was pending, the D.C. Circuit Court reversed the FCC ruling and

remanded it for further consideration.                      In May 2000, at the

suggestion of the arbitrator and with the support of plaintiff,

the    KCC   opened       a    generic     proceeding      to    determine        whether

reciprocal compensation should be paid for calls to an ISP.                              A

representative of plaintiff stated in support of a generic

proceeding:       “Any decision on the treatment of ISP-bound traffic

should be applied uniformly to all carriers and therefore should

be addressed in a generic docket that will allow all affected

parties      to   be   heard.”           Rebuttal   testimony          of    Curtis     L.

Hopfinger, Docket No. 00-TCGT-571-ARB, March 29, 2000 at p. 14.

Plaintiff’s       representative           also   stated    during          the   generic

proceeding        that:       “in   this    proceeding,         the   [KCC]       is   not

interpreting        the        language      contained      in        interconnection

agreements.”        Direct testimony of Curtis L. Hopfinger, Docket

No. 00-GIMT-1054-GIT, June 12, 2000 at p. 4.

       On December 18, 2000 the KCC issued an order in the generic

proceeding finding that “calls terminating at an ISP modem that

is within the same calling area as the originating end user are


                                            2
     Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 3 of 15




local calls and entitled to reciprocal compensation.”                      KCC

Order, Docket No. 00-GIMT-1054-GIT, December 18, 2000 at p. 17.

Plaintiff petitioned for reconsideration and on February 5,

2001, the KCC issued an order clarifying the December 18, 2000

order.    One of plaintiff’s objections to the December 18, 2000

order was that the KCC did not inform plaintiff that the policy

of   reciprocal    compensation     for    ISP-bound   traffic   would      be

applied retroactively without allowing plaintiff to challenge

individual contractual issues.            KCC order, Docket No. 00-GIMT-

1054-GIT, February 5, 2001 at pp. 3 & 6.           The KCC clarified the

order to state that it was not limiting plaintiff’s right to

arbitrate legitimate individual contractual issues or to present

legitimate challenges to the interpretation of interconnection

agreements.     Id. at p. 3.     More specifically, the KCC stated:

      Although this generic proceeding did not interpret
      terms of a specific interconnection agreement, SWBT
      [plaintiff] knew the question for the Commission [KCC]
      was whether SWBT must stop unilaterally withholding
      payment of reciprocal compensation for ISP-bound
      traffic in Kansas. This case arose because SWBT made
      a unilateral decision not to pay inter-carrier
      compensation to any competitive LEC in Kansas for
      traffic destined to an ISP modem. . . . SWBT used its
      interpretation of FCC rulings to justify its failure
      to pay millions of dollars in reciprocal compensation
      for ISP-bound traffic. . . . SWBT sought no guidance
      from this Commission about the appropriateness of it
      withholding payment.    The Commission denies SWBT’s
      request for reconsideration because SWBT did not have
      notice that the decision made in this generic
      proceeding would apply when interpreting existing
      interconnection agreements. The Commission concludes

                                     3
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 4 of 15




       SWBT not only was aware of the scope of the decision
       to be made in this generic docket, but also encouraged
       the Commission and competitive LECs to maintain the
       status quo (i.e. SWBT withholding payment for ISP
       traffic) until a final decision was reached in this
       docket.

Id. at pp. 7-8 (citations omitted).             The clarifying order

stated that the KCC was not precluding a party from seeking

interpretation of disputes regarding interconnection agreements

and did not supersede any interconnection agreement that used a

different compensation system for ISP-bound calls.           Id. at pp.

8-9.    Nevertheless, the KCC stated:

       Even though the Commission has not interpreted
       specific terms of an interconnection agreement, the
       finding that traffic to an ISP is local and subject to
       reciprocal   compensation   will   be  employed   when
       interpreting existing interconnection agreements in
       Kansas. This is not retroactive rate making. Instead
       this finding fulfills the purpose of the generic
       docket to define for all LECs how ISP-bound traffic
       should be treated in Kansas. . . . The Order provides
       guidance to LECs concerning what is considered local
       traffic   for   reciprocal    compensation   purposes.
       However, the Order does not preclude consideration of
       legitimate   issues   concerning   interpretation   of
       interconnection agreements.
       . . . .
       When interpreting interconnection agreements, the
       Commission will apply basic rules for construction of
       contracts. SWBT will need to consider those rules to
       determine whether it has the burden to come forward or
       the   burden   of   proof    if   it   challenges   an
       interconnection agreement.      The cardinal rule of
       contract construction requires the parties’ intent to
       be determined from the four corners of the instrument
       by construing all the provisions together and in
       harmony with each other, rather than by critical
       analysis of a single or isolated provision.


                                   4
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 5 of 15




Id. at pp. 9 & 11.

     On April 27, 2001 the FCC issued its order on remand from

the D.C. Circuit.    The FCC concluded in this order that calls to

an ISP between and ILEC and a CLEC should not be governed by the

statutory requirements for reciprocal compensation.           It further

established an interim cost recovery mechanism for ISP-bound

traffic.1

     On May 11, 2001 the KCC denied plaintiff’s petition for

reconsideration of the February 5, 2001 clarifying order and

asked the parties for briefs regarding the impact of the FCC’s

order on remand.     On August 16, 2001 the KCC issued an order

stating that, among other holdings, the KCC would continue to

have authority to enforce terms of existing interconnection

agreements relating to reciprocal compensation of ISP-bound

traffic in Kansas prior to the effective date of the FCC’s Order

on Remand, June 14, 2001.      KCC Order, Docket No. 00-GIMT-1054-

GIT, August 16, 2001, at pp. 10-12.       On October 4, 2001 the KCC

denied another petition for reconsideration filed by plaintiff.

     Arguments of the parties

     Plaintiff contends that the KCC’s orders violate federal law



     1 This order on remand was reviewed by the D.C. Circuit
which did not vacate the order, but remanded it again for
further proceedings in 2002. Worldcom, Inc. v. F.C.C., 288 F.3d
429 (D.C.Cir. 2002).

                                   5
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 6 of 15




because they impose an obligation upon plaintiff on the basis of

plaintiff’s interconnection agreements with CLECs in a generic

proceeding      without    actually     interpreting   the   terms   of   the

specific    interconnection          agreements.    Similarly,   plaintiff

contends that the KCC has acted arbitrarily and capriciously in

violation of state law by reaching a conclusion regarding the

meaning    of   terms     in   the   interconnection   agreements     without

actually     considering       the    contractual   language.        Finally,

plaintiff asserts that the KCC orders violate state law as to

the burden of proof in breach of contract cases by requiring

plaintiff to show that it did not breach an interconnection

agreement in any action brought by a CLEC alleging that there is

money owed for ISP-bound calls.

    The KCC argues that plaintiff asked the KCC to address the

question of compensation for ISP traffic in a generic proceeding

and should not now complain that the procedure was in error.

The KCC further argues that it did not violate state law in

construing interconnection agreements because it never reached

the point of construing a specific interconnection agreement.

Finally, the KCC denies that it shifted the burden of proof in

any future breach of contract claim which asserts that plaintiff

is withholding compensation due for ISP traffic.

    Some CLECs are also defendants in this case.                 They have


                                         6
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 7 of 15




filed   a   brief   which   makes    the   following   arguments   against

plaintiff’s position.       First, they contend that the KCC’s orders

do not attempt to interpret existing interconnection agreements.

Second, they assert that plaintiff invited the use of a generic

proceeding and cannot now claim error because it was a generic

proceeding.    Third, they contend that this court does not have

jurisdiction to review whether KCC’s orders violate state law

because of the Eleventh Amendment.          Finally, they argue that the

KCC’s orders do not violate state law because they do not

purport to interpret existing interconnection agreements or

shift   the   burden   of    proof    by   creating    a   presumption   of

reciprocal compensation for ISP calls.

    The Citizens’ Utility Ratepayers Board has also filed a

brief in this matter.       Its position is substantially the same as

that of the KCC.

    In reply, plaintiff contends that it favored a generic

proceeding for the purposes of determining the compensation

requirements when arbitrating new interconnection agreements.

Plaintiff contends that it did not agree, however, to a generic

proceeding which would decide how ISP calls would be compensated

under existing interconnection agreements.             Even in the event

that plaintiff was held to have “invited” the alleged error of

a generic proceeding, plaintiff asserts that the court must


                                      7
      Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 8 of 15




vacate the KCC’s orders because the KCC lacked the statutory

authority to issue a generic order that interprets existing

interconnection        agreements    without    considering      the     specific

language of the agreements.             Finally, plaintiff asserts that

this    court    has    jurisdiction    to   consider     whether      the    KCC’s

interpretation of an interconnection agreement complies with

state law because of its impact upon the operation of the

Telecommunications Act of 1996.

       Finally, there is an undercurrent of an argument as to

whether the KCC’s orders are contrary to the FCC’s position

regarding the treatment of or compensation for calls made to ISP

modems.       Plaintiff contends in its statement of facts that “the

FCC    does    not   require    reciprocal    compensation       for   ISP-bound

traffic.”       Opening brief, p. 6.           However, this claim is not

listed by plaintiff as an argument for reversing or vacating the

KCC’s orders.          As the opposing parties note in their briefs,

several courts have held that state commissions do not violate

federal law by requiring reciprocal compensation for calls to

ISPs.     See, e.g., Michigan Bell Telephone Co. v. MFS Intelenet

of     Michigan,     Inc.,     339   F.3d    428,   436   (6th    Cir.       2003);

Southwestern Bell Tel. Co. v. Brooks Fiber Communications, 235

F.3d 493, 499-501 (10th Cir. 2000).           It appears to the court that

plaintiff is making a procedural challenge to the KCC orders in


                                        8
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 9 of 15




the arguments listed in its brief.                     The court shall focus on

those arguments.

       Standard of review

       The parties appear to agree that a de novo standard applies

to this court’s review of plaintiff’s federal law claim and that

an arbitrary and capricious standard applies to this court’s

review   of    plaintiff’s       state   law     claims.         See   Brooks    Fiber

Communications, 235 F.3d at 498.

       Federal law

       Plaintiff supports its federal law argument with the case

of Pacific Bell v. Pac-West Telecomm, Inc., 325 F.3d 1114 (9th

Cir.    2003).       In    Pacific   Bell,      the     court    considered      three

consolidated appeals of orders made by the California Public

Utilities Commission (CPUC).               In two of the appeals, Pacific

Bell,    which      is    an   incumbent       local    exchange       carrier    like

plaintiff in the case at bar, challenged two generic rulemaking

orders   by    CPUC      which   required      that     reciprocal      compensation

provisions in interconnection agreements apply to ISP-bound

traffic.       In the other appeal, Pacific Bell challenged the

result   of    an    arbitration     proceeding         before    the    CPUC    which

approved an arbitrated interconnection agreement that required

reciprocal compensation for calls to ISPs.                         According to the
Ninth Circuit opinion, the CPUC:

              “emphasized that its generic orders were the

                                           9
     Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 10 of 15




             product   of    ‘a    rulemaking proceeding,’
             pursuant    to     the   CPUC’s  ‘legislative
             authority.’    ‘In such instances,’ it held,
             ‘the requirements are purely statutory and
             the agency is not circumscribed by the
             concept of due process or other restrictions
             applicable to judicial or quasi-judicial
             proceedings.’”

325 F.3d at 1121.        The Ninth Circuit held that this exceeded the

statutory authority over interconnection agreements granted by

the Telecommunications Act to state commissions.                 The court

explained that state commissions only have the authority under

47   U.S.C.    §   252   to    approve   new   arbitrated   interconnection

agreements and to interpret existing ones according to their

terms.    325 F.3d at 1125.        The FCC has held that ISP traffic is

“interstate” for jurisdictional purposes and therefore the FCC,

not state commissions, has the authority to promulgate “generic”

regulations over ISP traffic.            Id.   The court concluded:

       By promulgating a generic order binding on existing
       interconnection agreements without reference to a
       specific agreement or agreements, the CPUC acted
       contrary to the [Telecommunication] Act’s requirement
       that interconnection agreements are binding on the
       parties, or, at the very least, it acted arbitrarily
       and capriciously in purporting to interpret “standard”
       interconnection agreements.

325 F.3d at 1125-26.          The court buttressed this holding with the

finding that the generic orders were inconsistent with the

Telecommunications Act’s mandate that interconnection agreements

have binding force.           325 F.3d at 1127.    It further rejected the


                                         10
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 11 of 15




contention         that    the     CPUC       was    interpreting      “standard”

interconnection agreements, since the CPUC explicitly stated

that   it   was     making    a   general      binding   rule    and   because   no

interconnection agreements were made part of the administrative

record.     325 F.3d at 1128.

       In the third of the three consolidated appeals, however, the

Ninth Circuit affirmed the CPUC holding in an arbitration of an

interconnection agreement which reached the same result as the

generic orders overturned by the Ninth Circuit.                        The Ninth

Circuit     held    that     it   was   not    arbitrary   and    capricious     or

inconsistent with the Telecommunications Act for the CPUC to

hold that ISP traffic was subject to reciprocal compensation

payments in the context of a specific interconnection agreement

being negotiated between an ILEC (Pacific Bell) and a CLEC (Pac-

West Telecomm, Inc.).

       The court finds that the orders of the KCC challenged in

this case are distinguishable from the generic orders vacated by

the Ninth Circuit in Pacific Bell.                  The KCC has stated that it

was not superseding any existing interconnection agreement or

precluding a party from seeking an interpretation of an existing

interconnection agreement according to the basic rules for the

construction of contracts, rather it was issuing an order that

would be “employed when interpreting existing interconnection


                                          11
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 12 of 15




agreements in Kansas.”          This is significantly different from the

CPUC explicitly legislating a rule which would bind the parties

to an interconnection agreement without examining the language

of the interconnection agreement.                 In our opinion, the general

rule which gives deference to an agency’s interpretation of its

own regulation is applicable here to the KCC’s interpretation of

its own order.           See, e.g., Belco Petroleum v. Federal Energy

Regulatory Commission, 589 F.2d 680, 685-86 (D.C.Cir. 1978);

Chesapeake & Ohio Railway Co. v. United States, 571 F.2d 1190,

1194 (D.C.Cir. 1977).            According to the KCC, it has stopped

short     of    interpreting      existing        interconnection      agreements

without considering their terms.                   We give deference to this

construction of the KCC orders and we find that the orders do

not legislate in a manner outside the jurisdiction of state

commissions under the Telecommunications Act, as in the Pacific

Bell case.       We further find that the KCC did not interpret or

modify the language of existing interconnection agreements.

Therefore,       we   reject     plaintiff’s       contention      that   the    KCC

violated       federal    law   and   do   not    reach     the   contention    that

plaintiff invited the error upon which plaintiff has based its

claim for review.

     State law

     We    reject        the    Eleventh        Amendment    challenge    to    our


                                           12
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 13 of 15




consideration of the state law arguments.                     See Michigan Bell

Telephone Co., 339 F.3d at 432-22; Verizon Delaware, Inc. v.

A.T.&T. Communications, 326 F.Supp.2d 574, 578-80 (D.Del. 2004).

       Plaintiff’s first argument is that the KCC has violated the

principles      of      Kansas       contract          law      by       interpreting

interconnection       agreements     without       considering        the    specific

terms of the agreements.            Plaintiff’s second argument is that

the KCC has violated the principles of Kansas contract law by

establishing a presumption that plaintiff has violated the terms

of the interconnection agreements, rather than requiring a party

claiming that plaintiff has breached the agreement to bear the

burden of proof.        Plaintiff’s arguments do not persuade us that

the KCC has acted in an arbitrary or capricious manner.

       Ultimately, plaintiff is seeking “a ruling that the [KCC]

must   interpret     and   bind     the   parties      to    the     terms    of    each

particular [interconnection] agreement without prejudging issues

in a proceeding in which the language of particular agreements

is not even before the KCC.”              Plaintiff’s reply brief at p. 9.

Such a ruling, however, does not appear to be in contradiction

with the KCC orders at issue.                    Plaintiff asserts that the

contradiction      is   exposed      in    the    KCC’s      statement       that    the

“finding    that     traffic   to    an    ISP    is    local      and    subject     to

reciprocal    compensation        will    be     employed     when       interpreting


                                          13
   Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 14 of 15




existing interconnection agreements in Kansas.”            Feb. 9, 2001

Order at p. 9.       To “employ” a finding is not necessarily the

same as prejudging the meaning of the language of a contract

without considering the specific language and the intent of the

parties.   The finding may be “employed” in an informative manner

without being binding or dispositive.          Therefore, we find that

the KCC was not arbitrary or capricious as claimed by plaintiff.

The KCC did not rule that it would interpret the language of

specific   interconnection     agreements     without   considering   the

actual language of the agreements and the intent of the parties.

Indeed, it said the opposite.       The KCC also stated, contrary to

plaintiff’s claim, that it was not creating a presumption or

altering the rules which govern the bringing of contractual

claims in Kansas.      The KCC only stated that it would employ a

generic determination when it interpreted an interconnection

agreement.   On the record before the court, this does not appear

to be arbitrary or capricious.

     This is especially so in the context of an interconnection

agreement.     The    Tenth   Circuit   has   recently   discussed    how

interconnection agreements arise as “‘one step in a complex and

ongoing regulatory process.’”        E.spire Communications, Inc. v.

New Mexico Public Regulation Commission, 392 F.3d 1204, 1207

(10th Cir. 2004) (quoting, E.Spire v. Baca, 269 F.Supp.2d 1310,


                                   14
  Case 5:01-cv-04158-RDR-JPO Document 153 Filed 01/26/05 Page 15 of 15




1329 (D.N.M.2003)).

      An interconnection agreement is not an ordinary
      private contract.   It is a document resulting from
      arbitration authorized and required by federal law
      which   cannot   be  viewed   in   isolation.      An
      interconnection agreement is not to be construed as a
      traditional contract but as an instrument arising
      within the context of ongoing federal and state
      regulation.

Id.

      Conclusion

      For the above-stated reasons, we conclude that plaintiff has

not   demonstrated    a   violation    of   federal   or   state    law.

Therefore, the court shall deny relief to plaintiff and direct

that judgment be entered in favor of defendants.

      IT IS SO ORDERED.

      Dated this 26th day of January, 2005 at Topeka, Kansas.



                                       s/Richard D. Rogers
                                       United States District Judge




                                  15
